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 1                                           The Honorable Barbara J. Rothstein
 2

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 7

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 9   WSBA No. 24749
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13   Email: david@groesbecklaw.com
14
                  IN THE UNITED STATES DISTRICT COURT
15
                FOR THE WESTERN DISTRICT OF WASHINGTON
16

17
                                     AT SEATTLE

18

19   PARLER LLC,
20                                                No. 2:21-cv-00031-BJR
                           Plaintiff,
21
                 v.
22

23   AMAZON WEB SERVICES, INC.,
                                               DECLARATION OF JOHN
24                                             MATZE, JR. IN SUPPORT OF
                                               PARLER'S MOTION FOR
25                          Defendant
                                               TEMPORARY RESTRAINING
26
                                               ORDER
27

28

29

30

31
      MATZE DECL. ISO TRO MOTION                                David J. Groesbeck, P.S.
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 1

 2
           The undersigned declares as follows:
 3

 4         1.     I am the Chief Executive Officer for Parler LLC (“Parler”). I am over

 5
     the age of 18 years and have personal knowledge, and competence to testify if
 6
     needed, of the matters set forth herein through firsthand knowledge and review of
 7

 8   corporate documents kept in the ordinary course of business.
 9
           2.     I am a co-founder of Parler and have served as its CEO since its
10

11   founding in 2018. Consequently, I have personal knowledge of the company and its
12
     dealings with Amazon Web Services, Inc. (“AWS”).
13

14         3.     Like many social media platforms, Parler charges no subscription
15
     fees, but instead generates all of its income from advertisement revenue.
16

17   Immediately before AWS shut down all online services, Parler had over 15 million
18
     accounts and approximately 1 million new downloads of its app per day. Because
19
     there was a widespread public expectation that President Trump would join the
20

21   Parler platform after being expelled from Twitter, there was a very real possibility
22
     that Parler’s estimated value might soon rise to several billions of dollars.
23

24         4.     I am aware that there has been some discussion in the news media of
25
     metadata evidence supposedly proving that Parler users were at or in the Capital
26

27   Building during the recent riot. However, the evidence presented by the media does
28
     not actually show this. Instead, it shows the location where videos were taken that
29

30

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 1   were later uploaded to Parler. But it does not show that videos were taken by a
 2
     Parler user. Thus, for example, if a person recorded a video at the Capitol and then
 3

 4   shared it with someone who decided to upload it, a Parler account who was nowhere

 5
     near the Capitol could then upload the video to Parler. But the underlying
 6
     geocaching data of the video would still show the original location where it was
 7

 8   recorded. Thus, the fact that a Parler account had uploaded a video taken at the
 9
     Capitol in no way shows that the Parler user was present there, rather it was
10

11   plausible they were reporting the news.
12
           5.     Further, to my knowledge not one person that the news media has
13

14   reported as arrested for the Capital riot has a Parler account. Although Ashli
15
     Babbitt, the woman shot and killed by law enforcement when she forced her way
16

17   into the Capitol Building, did have a Parler account, it had not been used since
18
     November. She also had a Twitter account that was in use the day of the riot,
19
     January 6, 2020. See Exhibit A (Babbitt Tweet).
20

21         6.     Until January 8, 2021, AWS gave us no indication that it considered
22
     our content moderation policies and methods violative either of the AWS
23

24   Acceptable Use Policy or the AWS Customer Agreement (the “Agreement”). To the
25
     contrary, at the time AWS chose to enter into the Agreement with Parler, we had
26

27   already informed AWS that Parler’s content moderation methods were reactive
28
     (moderating content, when necessary, after posting) rather than prospective (pre-
29

30

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 1   screening content). Until more recently, Parler has generally relied on a jury
 2
     system wherein Parler “jurors” would flag and vote whether to remove problematic
 3

 4   content according to community standards of decency. The Parler “jury pool”

 5
     received significant training about terms of service and violations, including that
 6
     Parler had no tolerance for inciting violence or lawbreaking. AWS had long been
 7

 8   informed of this system, such as in conversations with AWS representative
 9
            , and never expressed any concerns with it before January 8, 2021.
10

11         7.     Even more recently, AWS’s actions and communications led Parler’s
12
     corporate officers to believe that, far from being concerned about remaining in a
13

14   contractual relationship with Parler, AWS wished to expand that contractual
15
     relationship. In September 2020, Parler received an email from AWS offering to
16

17   finance our company as part of an AWS program for startups. Then, in mid-
18
     December 2020, AWS representatives spoke with Parler representatives seeking
19
     to sell proprietary AWS services on which Parler might rely for the core
20

21   functionality of our company. Again, they offered both propositions with full notice
22
     of our content moderation methods and infrastructure.
23

24         8.     On November 10, 2020, I met with AWS representatives to explore
25
     the possibility of Parler’s longterm engagement using AWS systems—so-called
26

27   “vendor lock”—including a move to Amazon’s proprietary database. This would
28
     require a great deal of investment and trust on Parler’s behalf as we would have to
29

30

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 1   specifically design portions of our software to only work with Amazon-specific
 2
     products. At that time, AWS knew there was a possibility that President Trump
 3

 4   might obtain a Parler account, likely bringing with him a surge of followers to the

 5
     Parler platform. What is more, around that time Parler had informed AWS that
 6
     initial tests using Artificial Intelligence (“AI”) to pre-screen inappropriate content,
 7

 8   including material that encouraged or incited violence, were returning promising
 9
     results.
10

11         9.       AWS was well aware that, between January 6 and 8, 2021, Parler was
12
     actively trying to address content moderation challenges exacerbated both by
13

14   current events and by a corresponding and an unprecedented surge in Parler users
15
     and activity. As we communicated to AWS, the backlog of approximately 26,000
16

17   reports of potentially violative content that AWS references in their briefing
18
     accumulated during a 7-hour period from the afternoon to late evening of Friday,
19
     January 8, when, due to the infrastructural stresses resulting from that surge,
20

21   Parler’s software went intermittently down and accounts using Parler had loading
22
     times exceeding 10 seconds to submit or receive on their device, making the ability
23

24   to functionally use Parler extremely time-consuming., I was texting and otherwise
25
     in communication with                     about the problems Parler’s software was
26

27   facing given those unusual circumstances. At that time, neither she nor any other
28
     AWS representative indicated that AWS considered either our content moderation
29

30

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 1   methods nor our responsiveness to flagged content issues to be a violation of the
 2
     Agreement. Instead, she and other AWS representatives engaged with Parler’s
 3

 4   technical support and Chief Technical Officer,         , until January 8, 2021 at

 5
     approximately 16:00 P.M., Pacific Time, at which time the AWS technical support
 6
     team ceased helping Parler cope with these technological problems.
 7

 8         10.    Because AWS had both longstanding knowledge of Parler’s content
 9
     moderation methods and immediate knowledge of our most recent efforts to cope
10

11   with content moderation problems exacerbated by a dramatic surge in users and
12
     corresponding stress on Parler’s technological infrastructure, Parler management
13

14   was blindsided by AWS’s abrupt notice, on January 9, 2021, that it considered
15
     Parler to be in violation of the Agreement.
16

17         11.    Based on my interactions with AWS personnel during this period, I
18
     believe AWS’s decision to terminate service to Parler was based, not on expressed
19
     concerns about Parler’s compliance with the AWS Agreement, but in part on a
20

21   desire to deny President Trump a platform on any large social-media service. AWS
22
     had inside and confidential knowledge from Parler about when and if he would
23

24   join. The week of our ban most large tech companies barred Trump from having
25
     online access.                  , who is a Joe Biden supporter, was AWS’s
26

27   representative assigned to me by AWS, and was aware since at least October 11,
28
     2020, that Trump was considering moving to Parler under the pseudonym “Person
29

30

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 1   X”. She questioned me frequently via text message, phone calls and emails about
 2
     any knowledge of those plans. It was only after Twitter announced its intention to
 3

 4   terminate Trump from its platform that AWS expressed any concern about Parler’s

 5
     compliance with its agreement. And in fact, AWS’s termination of Parler has had
 6
     the effect of denying a large social-media platform to Trump, even while protecting
 7

 8   a large customer—Twitter—from the increased competition that would have
 9
     resulted if Trump had moved to Parler.
10

11         12.    I had a call with multiple members of the AWS team on Sunday night,
12
     January 11, 2021, shortly before AWS shut Parler down. In that call, I informed
13

14   AWS that Parler, looking ahead to the upcoming Presidential inauguration, was
15
     actively trying to prevent the recurrence of infrastructural stresses and resulting
16

17   content moderation problems by working on additional enhanced features such as
18
     machine learning algorithms which, although not perfect and only running for an
19
     hour or so, were able to proactively detect many types of toxic behavior and
20

21   expressions of violence and report them to a Parler jury for review before the public
22
     could see the content. Besides telling AWS that Parler would begin pre-screening
23

24   content, I also raised the possibility that Parler might buy Amazon’s own AI
25
     software. We were discussing expedited development of an integration with
26

27   Amazon Rekognition, which could help quickly identify images and videos which
28
     contained material against Parler’s and AWS’s terms of service. I also notified AWS
29

30

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 1   that Parler was working through the backlog of 26,000 reported violations and that
 2
     we could reduce the violations very quickly using machine learning. (Since that
 3

 4   discussion, and as of today, Parler has reduced that backlog to under 1,000.)

 5
           13.    Despite this, during the call the AWS team was emphatic and explicit
 6
     in voicing their determination to effect a final termination of their relationship
 7

 8   with Parler, and not merely a temporary suspension. By shutting Parler down
 9
     entirely, AWS has necessarily shut down all of Parler’s more than 15 million
10

11   accounts and, through advertising, its sole source of revenue. The company now
12
     has no income to meet its overhead or other financial obligations.
13

14         14.    I recently learned that, when AWS shut down all its services to Parler
15
     at their predetermined hour, Route 53, a highly scalable domain name system
16

17   (DNS) was nevertheless left open, which conveniently directed hackers to our
18
     backup datacenters and caused them to initiate a sizable DNS attacks. Sometime
19
     on Monday, January 11, after it was public knowledge that AWS would no longer
20

21   support Parler’s servers, AWS abruptly terminated the Route 53 link, and
22
     presumedly stopped the hackers. This essentially became a threat to all future
23

24   datacenters that, if they were to host Parler, they would be attacked by
25
     unprecedented hacks.
26

27         15.    Prior to AWS’s shutdown, I believed, and publicly stated, that Parler
28
     would quickly be able to find another hosting service. Since then, however, AWS’s
29

30

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 1   highly publicized break from our contractual relationship, when coupled with the
 2
     toxic notoriety of massive hacking attacks, has driven away nearly all existing and
 3

 4   prospective business relationships, including other hosting services that Parler

 5
     had hoped to use. In leaked communications, AWS has used language that has
 6
     allowed the media to mischaracterize Parler in ways that have alienated Parler’s
 7

 8   partners and caused them to withdraw potential financing and infrastructural
 9
     services:
10

11               •   ScyllaDB, which provides very specialized enterprise support and
12
                     specialized database software that Parler critically relies on for their
13

14                   core infrastructure, gave Parler their 30-day notice explaining that,
15
                     “even if [AWS’s and the media’s accusations were] only partially true,”
16

17                   they could not continue their enterprise agreement with us.
18
                 •   Slack Technologies, which provided a chat messaging system for
19

20
                     coordinating with the Parler Jury that enforces our terms of service,

21                   abruptly canceled their services to Parler citing a violation of their
22
                     own terms of service based on AWS’s decision to drop Parler. Losing
23

24                   Slack makes it extremely difficult to effectively enforce our terms of
25
                     service with our almost 600 volunteer and paid Jury members.
26

27               •   Stripe, which processes credit card payments for Parler in order to
28
                     generate revenue, also alluded to AWS’s highly publicized allegations
29

30

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 1                   of violence on Parler and has terminated their agreement. This
 2
                     renders it impossible for Parler to generate revenue and, even if
 3

 4                   Parler could find a replacement vendor, the software integration

 5
                     would take weeks.
 6
                 •   After hearing of AWS’s allegations, Parler’s press relations firm,
 7

 8                   Shirley McVicker, abruptly terminated its agreement to represent
 9
                     Parler.
10

11               •   Flurry, which does anonymous analytics for Parler to understand app
12
                     usage and statistics about Parler’s iPhone and Android app use,
13

14                   terminated their relationship with Parler.
15
                 •   American Express has flagged Parler as violating their compliance
16

17                   rules and now Parler cannot use them as a credit card processor.
18
           16.       This is a limited list of vendors that have dropped Parler since AWS
19

20
     terminated services to our company. Even Epik, which is currently holding a

21   domain for Parler, will not be providing the web hosting services that are essential
22
     for Parler to function as a company. Given this fallout, AWS’s continuing refusal
23

24   to honor its agreement to provide Parler with hosting and other online services is
25
     causing massive damage to our company’s reputation, business model, and
26

27   commercial liability.
28

29

30

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 1         17.      Finally, AWS’s refusal to provide services to Parler, when paired with
 2
     the massive reputational damage Parler has sustained, has also hobbled Parler’s
 3

 4   ability to respond to the factual allegations on which AWS’s briefing relies. AWS

 5
     makes many claims tying Parler account users to the recent civil unrest, but we
 6
     cannot even access our data to verify or disprove AWS’s claims.
 7

 8         18.      My company is now a social network without a network. By turning
 9
     off Parler’s online capabilities, AWS has crushed our business’s growth and
10

11   eviscerated its ability to function as a going concern. Until those online capabilities
12
     are restored, Parler faces the very real and immediate prospect of permanent
13

14   destruction.
15
           19.      As a final matter, multiple members of Parler’s team have come to me
16

17   expressing both fear for their career and fear for their lives and potentially bodily
18
     harm due to the press surrounding AWS’s claims. Many employees want to resign
19
     due to the strain and pressure they feel, fearing hostility towards our company and
20

21   fearing for their own safety. Some have had articles written about them. Many are
22
     being harassed by reporters and journalists already. Some have had to cancel their
23

24   phone numbers, and their family members’ phone numbers, due to harassment.
25
     Some have gone so far as to leave their home state to escape. I have left my home
26

27   to go somewhere safe. Via messages on LinkedIn, Twitter, and email, I have
28
     received many recent threats of violence. Though most have presented no
29

30

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 1   imminent threat of danger, I have seen one particular group with a history of
 2
     committing murder doxing my home street on Twitter with threat accusations
 3

 4   lobbed against me, as well as others circulating my personal passwords. AWS’s

 5
     false accusations have incited a virtual mob and presented a risk to my family, our
 6
     employees, and their families.
 7

 8

 9
           I declare under penalty of perjury that the foregoing is true and correct.
10

11         Executed on January 13, 2021 at                   .
12

13

14                                    John Matze, Jr.
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